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                                   Exhibit 1

                                  Subpoena
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                           TOGUT, SEGAL & SEGAL LLP
                                    ATTORNEYS AT LAW
                                  ONE PENN PLAZA
                              NEW YORK, NEW YORK 10119
                                   (212) 594-5000
                                         ___
                                          FACSIMILE
                                         (212) 967-4258
                                             ___
                                            EMAIL
                                     mnester@teamtogut.com



                                                                                 July 13, 2021

VIA FEDEX
Julia McNally
29-50 170th Street
Flushing, NY 11358

                           Re:      Kossoff PLLC,
                                    Chapter 7 Case No. 21-10699 (DSJ)

Dear Ms. McNally:

             We are the attorneys for Albert Togut, not individually but solely in his
capacity as Chapter 7 Interim Trustee of the estate of Kossoff PLLC.

              Enclosed please find a subpoena (the “Subpoena”) requiring the
production of documents no later than seven business days after the date of this letter,
as well as the Bankruptcy Court’s Order Authorizing Discovery Pursuant to Rule 2004 of
the Federal Rules of Bankruptcy Procedures [Docket No. 27], entered on May 24, 2021, and
Final Order Granting Injunctive Relief [Docket No. 62], entered on June 10, 2021.

              Please contact me with any questions and to coordinate your production
in response to this Subpoena.

                                                                  Very truly yours,

                                                             TOGUT, SEGAL & SEGAL LLP
                                                             By:

                                                                  /s/ Minta J. Nester
                                                                  Minta J. Nester


Enclosures
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                                      DEFINITIONS

              Unless otherwise defined below, the definitions and instructions set forth

in the Local Bankruptcy Rules for the Southern District of New York, the Federal Rules

of Civil Procedure, and the Federal Rules of Bankruptcy Procedure shall apply to the

document requests (the “Requests”) listed below.

              1.     2004 Order. The term “2004 Order” shall mean the attached Order

Authorizing the Trustee to Issue Subpoenas and Obtain Testimony and for Injunctive Relief

entered on May 24, 2021 [Docket No. 27] in In re Kossoff PLLC, Case No. 21-10699 (DSJ)

(Bankr. S.D.N.Y.).

              2.     Affiliate. The term “Affiliate” is defined to be synonymous in

meaning and equal in scope to the usage of this term as it is defined in section 101(2) of

the Bankruptcy Code.

              3.     Bankruptcy Code. The term “Bankruptcy Code” shall mean title 11

of the United States Code.

              4.     Communication. The term “Communication” shall mean any

transmittal of information, including internal communications and any transmission or

exchange of information from or to any Person, whether orally or in writing, and any

conversation or discussion, whether face-to-face or by means of letter, note,

memorandum, telephone, voice-mail, telegraph, telecopier, cable, e-mail, instant

message service, or other medium, whether electronic or otherwise.

              5.     Concerning. The term “concerning” shall mean “relating to,”

“referring to,” “describing,” “evidencing,” or “constituting,” and accordingly shall

include, by way of illustration, “mentioning,” “discussing,” “containing,” or “setting

forth.”




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              6.       Debtor. The term “Debtor” shall mean Kossoff PLLC, and any

current or former member, employee, representative, officer, director, attorney,

accountant, auditor, and agent of any of the foregoing.

              7.       Documents. The term “Documents” is defined to be synonymous

in meaning and equal in scope to the usage of the term “documents or electronically

stored information” in Federal Rule of Civil Procedure 34(a), and accordingly includes,

Communications, reports, correspondence, minutes, e-mails, instant messages,

spreadsheets, trade ledgers, blotters, memoranda, notes and all other writings,

Bloomberg screenshots, drawings, presentations, graphs, charts, photographs, audio

recordings, and electronic or computerized data compilations from which information

can be obtained and/or translated, if necessary, through electronic detection devices

into reasonably usable form or any of the foregoing that pertains to a Communication,

and all pleadings in any proceeding concerning the Debtor and/or Mitchell H. Kossoff.

A draft or non-identical copy is a separate Document within the meaning of this term.

              8.       Including. The term “including” shall mean “including, but not

limited to.” Phrases following the term “including” are not intended to be exhaustive

of the materials sought by the Request and shall not in any way be read to limit the

scope of the Request. Any and all descriptions or examples of materials provided

hereafter are illustrative only and do not limit the request to those particular materials

or types of materials, as if it were explicitly noted that such request was “not limited to”

the stated examples.

              9.       Person. The term “Person,” as set forth in section 101(41) of the

Bankruptcy Code, shall mean any natural person or any legal entity, including any

business or governmental entity or association, and also including, accordingly, any




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firm, corporation, association, partnership, sole proprietorship, limited liability

company, public entity, or other form of entity as that term is defined in section 101(15)

of the Bankruptcy Code.

              10.     Subsidiary. The term “Subsidiary” shall mean any person or entity

of which shares of stock or other ownership interests having ordinary voting power to

elect a majority of the board of directors or other managers of such entity are at the time

owned, or the management of which is otherwise controlled, directly or indirectly, by

another entity.

              11.     Trustee. The term “Trustee” shall mean Albert Togut, not

individually but solely in his capacity as Chapter 7 Interim Trustee of the Debtor.

              12.     “You” and “Your.” The term “You” and “Your” shall refer to the

recipient of this subpoena and all of its current and former parent entities, Subsidiary

entities, entities in which any of them have direct or indirect interests, funds any of

them have managed or for which any of them have had the right to select investments,

and other Affiliates, and each current and former member, employee, representative,

officer, director, partner, attorney, accountant, auditor, Subsidiary, parent, Affiliate

entity, and agent of any of the foregoing.

                                     INSTRUCTIONS

       1.     Unless otherwise stated, the relevant time period for the Requests shall be

the period from April 13, 2015 through the present date (the “Relevant Time Period”).

       2.     Unless otherwise stated with respect to a particular Request, responses to

each Request shall include all responsive Documents, Communications and information

dated, created, modified, reviewed, sent or received during the Relevant Time Period.




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       3.     In responding to these Requests, You are requested to furnish all

Documents that are available to You or are in Your possession, custody or control,

including Documents in the possession of Your attorneys, auditors, or accountants;

attorneys, auditors or accountants retained on behalf of the Debtor; other persons

directly or indirectly employed by or connected with You or Your attorneys or

accountants; other persons directly or indirectly employed by or connected with

attorneys or accountants retained on behalf of the Debtor; or anyone else acting or who

has acted on Your behalf or otherwise is, in relevant respects, subject to Your control.

       4.     These Requests call for production of responsive Documents in their

entirety, without abbreviation or deletions.

       5.     All drafts of responsive Documents must be produced, as well as non-

identical copies. Identical copies of produced Documents need not be produced.

       6.     Documents shall be produced, organized and labeled to correspond with

the Requests to which the Documents are responsive.

       7.     Documents attached to each other (physically or via email) should be

attached in the same way when produced.

       8.     Electronically stored information must be produced in both native and a

searchable format, and data should be produced in Excel, unless we agree otherwise.

       9.     Wherever used herein, the singular form of any word includes the plural

and vice versa.

       10.    The masculine shall be deemed to include the feminine and the feminine

shall be deemed to include the masculine.




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      11.          The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of the request all responses that

might otherwise be construed to be outside of its scope.

      12.          The terms “all,” “any,” “every” and “each” shall each be construed as

encompassing any and all.

      13.          Each page of every Document produced in response to these Requests

must be marked with a unique Bates number to allow for accurate identification.

      14.          To the extent that any requested Documents are withheld from inspection

and copying: (a) because the Document is no longer in Your possession, custody or

control; or (b) based upon a claim of privilege, You are required to provide, upon the

completion of the production of non-privileged Documents, a list (the ”Withheld

Document List”) setting forth as to each such withheld Document the following

information to the extent known:

              i.         the title, date and type of document (e.g., memorandum, report,
                         chart, etc.);

             ii.         its subject matter (without revealing the information as to which
                         privilege or statutory authority is claimed);

            iii.         the name of each author, writer and/or sender of the document;

            iv.          the name of each recipient, addressee, or other party to whom the
                         document or a copy was sent or directed;

             v.          the specific request(s) to which the document is responsive; and

            vi.          to the extent the Document is withheld based on a claim of lack of
                         possession pursuant to subparagraph (a) above, (A) when the
                         Document was most recently in Your possession, custody or
                         control, (B) the disposition of the Document and (C) the identity of




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                             any Person who has possession, custody or control of the
                             Document;1 or

               vii.          to the extent the Document is withheld based on a claim of
                             privilege pursuant to subparagraph (b) above, (Y) the specific
                             privilege claimed and (Z) the factual and legal basis for the
                             privilege claimed or the specific statutory or other authority that
                             provides the claimed ground for non-production.

         15.          If a portion of an otherwise responsive Document contains information

subject to a claim of privilege pursuant to paragraph 14(b) above, those portions of the

Document subject to the claim of privilege may be redacted from the Document, but the

instructions in the preceding paragraph 14 shall be applicable, and the rest of the

Document shall be produced.

         16.          If a Request is only partly objectionable, respond to the remainder of the

Request that is not objectionable.

         17.          If an objection or request for relief is made with respect to any Request or

portion thereof, the objection or request for relief shall state all grounds on which it is

based with specificity. Any ground not stated in the objection or request for relief

within the time provided by the 2004 Order, or any extensions thereof, shall be deemed

waived.

         18.          At a future date, the Trustee may request the production of additional

Documents or testimony. This request is without waiver of the Trustee’s right to seek

additional information from You or any other third party.

                                   REQUESTS FOR PRODUCTION

REQUEST NO. 1:

             All Documents and Communications concerning the Debtor and/or
Mitchell H. Kossoff, Esq., including, but not limited to, workpapers, documents, notes

1
     If a Document has been destroyed, the Withheld Document List shall also include: (a) the reason for
     its destruction; (b) the identity of the Person who destroyed the Document; and (c) the identity of the
     Person who directed that the Document be destroyed.



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and research that related in any form to audits, reviews, compilations, special projects,
agreed upon procedures, tax return preparation, write-up work or any other service. Such
should include but not be limited to the following:

             a) audited financial statements and checklists;
             b) summary memos describing the client’s results and any audit
                issues;
             c) summary of audit differences;
             d) legal letters and letters of representation;
             e) trial balances and general ledgers;
             f) systems documentation;
             g) permanent files;
             h) footnote disclosures;
             i) analytical review procedures;
             j) workpapers for each account including, but not limited to, cash,
                accounts receivable, inventory; fixed assets, investments, other
                assets, accounts payable, debt, equity, revenue, expenses and
                any other account and partner, shareholder, member and
                beneficiary basis;
             k) documents relating to any employee benefit plans;
             l) documents related to the Debtor’s IOLA and IOLTA accounts,
                including accountings;
             m) bank and investment statements, including for the IOLA and
                IOLTA accounts maintained by or on behalf of the Debtor and/or
                Mitchell H. Kossoff, Esq.;
             n) cancelled checks and wire transfer advices;
             o) check registers;
             p) engagement letters;
             q) billing files, including all invoices, statements, bills and
                correspondence;
             r) all documents that are or contain records or financial information
                including, but not limited to, vendor invoices, journals, books,
                records, work-papers or ledgers wherein there are statements or
                recordings regarding the affairs of the relevant parties including,
                but not limited to, debt information, cash receipts information,
                cash disbursement information, asset information and liability
                information;
             s) presentations or analyses;
             t) all electronic and computer files, backup disks, tapes or hard
                drives that contain records of financial information that pertain to
                any electronic accounting software package;
             u) Copies of any and all contracts between or among: (i) the
                Debtor, Burton, Tenantracers, and/or Mitchell H. Kossoff, Esq.,
                on the one hand, and (ii) every vendor, lessee, lessor, employee,
                agents, officer, director, shareholder, customer, lender, investor,
                on the other hand;




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             v) copies of all loan documents and applications therefore, all
                statements as to proceeds from loans and repayments of same
                with or to any bank, financial institution or individual;
             w) copies of all correspondence by and between any actual or
                potential lender and all financial statements and applications
                given from or in the alternative a list of anyone individual or
                entity that received same;
             x) copies of all yearend W-2s to employees and the associated W-3;
                and
             y) copies of all payroll records (including time sheets).

REQUEST NO. 2:

             All Communications with the Debtor and/or Mitchell H. Kossoff, Esq.

REQUEST NO. 3:

              All Documents and Communications concerning any service provided by
You to or for the benefit of the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 4:

              All Documents concerning the operations of the Debtor, including sources
of financing, equity, capital structure, corporate structure, ownership, general ledgers,
bill/invoice and collection records, accounts payable records and business models.

REQUEST NO. 5:

        All Documents and Communications concerning the preparation of tax returns,
workpapers, documents, notes, research utilized to prepare tax returns and reports,
reports or any other type of financial statements for the Debtor or Mitchell H. Kossoff,
Esq., including books and records, work sheets, and draft documents.

REQUEST NO. 6:

              All Documents and Communications concerning any transaction or
potential transaction involving the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 7:

             All Documents concerning any projections, budgets, forecasts, financial
information, or any other type of analysis prepared by You, at your direction, or on
Your behalf in connection with the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 8:

             All Documents concerning any obligations due to, or from, the Debtor or
Mitchell H. Kossoff, Esq.




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REQUEST NO. 9:

            All Documents and Communications concerning any transfer of value
between the Debtor and any Person, including Mitchell H. Kossoff, Esq.

REQUEST NO. 10:

              All time records associated with any individual or entity regarding any
matter related to the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 11:

              Copies of any and all pension/retirement plan documents, including any
agreements, plan documents, annual summaries, and year-end participant account
balances for the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 12:

              All Documents and Communications concerning any asset or agreement
of the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 13:

               All credentials, asset codes, and other information necessary to obtain
access to electronically stored records of the Debtor or Mitchell H. Kossoff, Esq.

REQUEST NO. 14:

             All Documents and Communications concerning clients of the Debtor or
Mitchell H. Kossoff, Esq.

REQUEST NO. 15:

             Copies of all Documents produced to any law enforcement agency
concerning the Debtor or Mitchell H. Kossoff, Esq.




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :      Chapter 7
                                                               :      Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
                   KOSSOFF PLLC,                               :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

                  ORDER AUTHORIZING TRUSTEE TO ISSUE
       SUBPOENAS AND OBTAIN TESTIMONY AND FOR INJUNCTIVE RELIEF

                 Upon the Trustee’s ex parte application for relief (the “Motion”)1 by Albert

Togut, not individually but solely in his capacity as the Chapter 7 Interim Trustee (the “Trustee”)

of Kossoff PLLC (the “Debtor”), by his proposed attorneys, Togut, Segal & Segal LLP (the

“Togut Firm”), and the accompanying Declaration of Neil Berger, Esq., dated May 21, 2021

(the “Berger Declaration”); and upon consideration of the Motion and the Berger Declaration;

and, after due deliberation, the Court having concluded that sufficient cause for the relief sought

exists; and it appearing that the emergency relief sought in the Motion is necessary and proper,

including specific facts set forth in the Berger Declaration showing that immediate and

irreparable injury, loss or damage may result absent the relief sought; and it appearing that no

further notice of this Order need be given; after due deliberation and sufficient cause appearing

therefor, it is hereby

                 ORDERED, that pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), the Trustee is now authorized to issue subpoenas for the



1
    Capitalized terms not defined herein shall have the meanings ascribed in the Motion.
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production of all books, records, and documents, including, without limitation, all emails, text

messages, computers and/or laptop computers, hard drives, computer servers, back-up tapes, and

documents related to the Debtor or its property concerning or otherwise evidencing the Debtor’s

assets and financial affairs (the “Books and Records”), and the Trustee is permitted to obtain

such items and to obtain deposition testimony consistent with Bankruptcy Rule 9016, concerning

any asset, liability, duty, obligation, contract, transaction, transfer, or other issue related in any

way to the Debtor and its financial affairs; and it is further

                ORDERED, that the production and examination required pursuant to this Order

are subject to any applicable privilege and nothing contained herein constitutes a finding that the

attorney-client privilege attaches to any particular document, communication, or other form of

information contained in the Books and Records; provided, however, and for cause shown in the

Motion, the Trustee, in his sole discretion, may waive any privilege in favor of the Debtor in

connection with the turnover of any Books and Records to the Trustee; and it is further

                ORDERED, that the Trustee shall serve a copy of the Order with any subpoena

that he serves pursuant to the Order; and it is further

                ORDERED, that subpoenas authorized by this Order may be served by the

Trustee by FedEx or any other method of service permitted under Bankruptcy Rule 9016 or by

other means agreed to by the subpoenaed parties; and it is further

                ORDERED, that sufficient reason having been shown therefore, pursuant to Rule

65 of the Federal Rules of Civil Procedure (the “Civil Rules”), made applicable by Bankruptcy

Rule 7065, effective immediately and pending entry of further Order by this Court, any recipient

of this Order (and a subpoena issued pursuant to this Order) be, and they hereby are, enjoined

and restrained from: (a) concealing, deleting, destroying, removing from the Premises or any



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other place where they may be located absent prior Order of this Court or prior written

permission by the Trustee, or otherwise altering any Books and Records, whether physical or

electronic, related to the Debtor or its property and such recipient shall preserve all such Books

and Records subject only to such turnover obligations pursuant to a subpoena or a further order

of this Court (the “Provisional Relief”); and it is further

               ORDERED, that on or before the response deadline provided in the Trustee’s

subpoena or such other date to which the Trustee agrees or the Court may set for cause

shown, the responding party shall provide: (i) written responses to each of the requests

contained in the subpoena; and (ii) a written declaration pursuant to

28 U.S.C. § 1746, attesting under the penalty of perjury that: (a) none of the Books and Records

have been altered, modified, deleted, or otherwise destroyed; and (b) the responding party has

made a diligent search and effort to locate and produce the documents and information requested

by the subpoena and that the written response as to each individual request contained in the

subpoena is true and complete to the best of the responding party’s knowledge and belief; [DSJ

5/24/2021] and it is further

               ORDERED, if any entity or person who receives a subpoena for the production

of documents pursuant to this Order withholds any item on the basis of an asserted privilege, that

entity is directed to provide a privilege log in accordance with Bankruptcy Rule 7026 to the

Togut Firm, One Penn Plaza, Suite 3335, New York, New York 10119, Attn.: Neil Berger, Esq.

(neilberger@teamtogut.com) and Brian F. Shaughnessy, Esq. (bshaughnessy@teamtogut.com),

so as to be received with the information production required by the subpoena, or at such time as

mutually agreed to by the Trustee and the subpoenaed entity or person; and it is further




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               ORDERED, that any subpoena issued pursuant to this Order shall provide at least

seven business days’ notice to the recipient to provide the recipient an opportunity to object to

the subpoena or to file any motion with the Court; and it is further

               ORDERED, that all disputes concerning any subpoena issued pursuant to this

Order, including objections thereto, that are not resolved by agreement of the parties may be

raised only by letter brief to the Court not exceeding five pages, single spaced, and the other

party shall file a responsive letter brief within three business days thereafter, which shall not

exceed five pages, single spaced; and copies of such letter briefs shall also be sent to the Court’s

Chambers by email to jones.chambers@nysb.uscourts.gov; and it is further

               ORDERED, that the telephonic hearing to consider the continuance of the

Provisional Relief sought in the Motion (the “Preliminary Injunction Hearing”) shall be held

before the Honorable David S. Jones, United States Bankruptcy Judge for the Southern District

of New York, on May 27, 2021 at 2:00 p.m. (Prevailing Eastern Time), or as soon thereafter as

counsel may be heard; [DSJ 5/24/2021] and it is further

               ORDERED, that any party that wishes to attend the Preliminary Injunction

Hearing must comply with General Order M-543 (Morris, C.J.) (as may be amended) of this

Court, a copy of which is attached hereto; and it is further

               ORDERED, Kossoff and Tenantracers are directed to appear before the Court at

the telephonic Preliminary Injunction Hearing and show cause why the Provisional Relief should

not be continued; and it is further

               ORDERED, that within one business day after entry of this Order, the Trustee

shall serve a copy of the Motion and its exhibits and this Order on the Notice Parties by




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electronic mail to the extent email addresses are available, or by overnight mail or commercial

delivery service, or hand delivery; and it is further

                ORDERED, that objections, if any, to the Motion must be in writing, shall

conform to the Bankruptcy Rules and the Local Rules of this Court, shall set forth the name of

the objector and the legal and factual grounds for the objection, and shall be filed with the

Bankruptcy Court, with a courtesy copy delivered to Judge Jones’s Chambers by email to

jones.chambers@nysb.uscourts.gov and served upon: (i) the Togut Firm, proposed counsel for

the Trustee, One Penn Plaza, New York, New York 10119, Attn: Neil Berger, Esq.

(neilberger@teamtogut.com) and Brian Shaughnessy, Esq. (bshaughnessy@teamtogut.com); (ii)

Kossoff; (iii) the Landlord; (iv) Tenantracers;

(v) all parties that have filed a notice of appearance in this case; and (vi) the United States

Trustee for the Southern District of New York, Attn: Andrew Velez-Rivera, Esq.

(Andy.Velez-Rivera@usdoj.gov) so as to be actually received by no later than 5:00 p.m.

(Prevailing Eastern Time) on May 26, 2021 (the “Objection Deadline”); [DSJ 05/24/2021] and

it is further

                ORDERED, that objections, if any, to the Motion which are not filed and served

on or before the Objection Deadline shall be barred and forever waived; and it is further

                ORDERED, that at the hearing to consider the preliminary injunction, the Court

shall schedule a hearing for the entry of a permanent injunction consistent with the Provisional

Relief; and it is further

                ORDERED, that pursuant to Bankruptcy Rule 7065, the security provisions of

Civil Rule 65(c) are waived pending further order of the Court; and it is further




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               ORDERED, that entry of this Order is without prejudice to the rights of the

Trustee or any other party to apply for any other or further relief, including but not limited to

further relief under Bankruptcy Rule 2004; and it is further

               ORDERED, that the Court retains exclusive jurisdiction to hear and determine

any and all matters arising from the interpretation and/or implementation of this Order.



Dated: New York, New York
       May 24, 2021
                                                s/ David S. Jones
                                              HONORABLE DAVID S. JONES
                                              UNITED STATES BANKRUPTCY JUDGE




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                        :
                                                              :
CORONAVIRUS/COVID-19 PANDEMIC,                                :
COURT OPERATIONS UNDER THE EXIGENT :                              General Order M-543
CIRCUMSTANCES CREATED BY COVID-19 :
                                                              :
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       In order to protect public health, and in recognition of the national emergency that was
declared by the President of the United States on March 13, 2020, the United States Bankruptcy
Court for the Southern District of New York (“Bankruptcy Court”) hereby issues the following
order:

        IT IS HEREBY ORDERED, effective immediately and until further notice, that:

    1. Hearings and Conferences. All hearings and conferences scheduled to be held in
       courthouses comprising the Manhattan Division, White Plains Division, and
       Poughkeepsie Division of the Bankruptcy Court will be conducted telephonically
       pending further Order of the Bankruptcy Judge assigned to the matter (“Bankruptcy
       Judge”). Any party wishing to appear in person at a hearing or conference shall file or
       submit an appropriate motion or request, which will be considered by the Bankruptcy
       Judge. Any party may request an adjournment of a hearing or conference by filing or
       submitting an appropriate motion or request setting forth the basis for the adjournment in
       conformity with the Bankruptcy Judge’s procedures for requesting adjournments. All
       attorneys, witnesses and parties wishing to appear at, or attend, a telephonic hearing or
       conference must refer to the Bankruptcy Judge’s guidelines for telephonic appearances
       and make arrangements with Court Solutions LLC. Pro se parties, Chapter 7 Trustees
       and Ch 13 Trustee may participate telephonically in hearings free of charge using Court
       Solutions. The instructions for registering with Court Solutions are attached hereto.

    2. Evidentiary Hearings and Trials. Parties should contact the Bankruptcy Judge’s
       courtroom deputy or law clerk assigned to the case to inquire about whether an upcoming
       evidentiary hearing or trial will proceed as scheduled and be prepared to discuss
       procedures and technology for conducting the evidentiary hearing remotely.

    3. Official Record. In order to assist the Bankruptcy Court in creating and maintaining the
       official record of proceedings before it, and to facilitate the availability of official
       transcripts of the proceedings, Bankruptcy Court personnel are permitted to utilize tools
       made available through Court Solutions to record telephonic hearings, conferences and
       trials. Such recordings shall be the official record. Transcripts can be ordered and
       corrected in the same way as before the issuance of this Order.
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   4. Clerk’s Office and Pro Se Filings. Until further notice, the three Divisions of the
      Bankruptcy Court will remain open for all other business. Clerk’s Office personnel are
      available by telephone, mail will be received, and the intake desks will remain open to
      receive pro se filings. Pro se filers can also continue to utilize the drop boxes located in
      the lobbies of the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,
      New York, NY 10007 or the Honorable Charles L. Brieant Jr. Federal Building and
      Courthouse, 300 Quarropas Street, White Plains, NY 10601 for delivery of documents
      after 5:00 pm. Any documents submitted for filing in a drop box must be time-stamped,
      sealed in an envelope addressed to the Clerk of Court of the Bankruptcy Court, and must
      include the filer’s contact information.


Dated: March 20, 2020
       New York, New York



                                             /s/ Cecelia G. Morris
                                             Cecelia G. Morris
                                             United States Bankruptcy Chief Judge
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Instructions to register for CourtSolutions.

1. Create a CourtSolutions account online.
Logon to https://www.court-solutions.com/ to “Signup” for an account and to register a
telephonic appointment for an upcoming hearing. Registration for a hearing must occur no
later than 12:00 noon on the business day prior to the hearing date.

2. Register for a hearing with CourtSolutions.
After creating and signing into their CourtSolutions account at
https://www.court-solutions.com/, a party must register for a hearing.
a. Enter the last name of the Judge to appear before and then select the appropriate name
from the list.
b. Enter the time and date of the hearing.
c. Select participation status: Live or Listen Only.
d. Enter the case name, case number, and, if applicable, the name of client.
e. There is a box to click to agree to terms/conditions, and then press “Register”.
f. CourtSolutions will send an email confirmation of the participation request.
g. The court staff will first confirm that a granted motion to appear telephonically is on the
docket. If there exists a granted motion, the court staff will approve the reservation.
h. CourtSolutions will then send another email confirmation.
Note that the reservation received for a registered hearing may NOT be transferred to another
person. If someone dials in with someone else’s registration information, the caller
information presented to the court will not match the correct person.

3. Charges.
For lawyers and participants, registration and reservations are free.
Once a party dials into a call, the cost is a flat fee of $70, per reservation, per judge, per day. If
the hearing is adjourned for a break and the party rejoins the call later that day, there is no
additional charge to rejoin the call. If the hearing is continued to another day, lawyers and
participants will need to re-register and the flat fee will apply again when dialing in.
If a party does not timely join a call, no fee is charged. The Judge will have the party listed as
having made a reservation, but the party is not charged. However, the hearing may proceed in
their absence, and they may face sanctions from the Court.
Additionally, a party may notice that there is a charge on their card after making a reservation.
When making a reservation, CourtSolutions places an authorization hold on the card. If the
party does not join the call, the pending hold will be removed automatically several days later,
and there will be no charge.
Any issues with billing shall be directed to the vendor. The Court is not responsible for the
billing or collection of the fees incurred with CourtSolutions.

4. Order of Proceeding.
CourtSolutions does not place a call to counsel on the day of the hearing. It is counsel's
responsibility to dial into the call not later than 10 minutes prior to the scheduled hearing.
Logging into the CourtSolutions website for the hearing is not required but is helpful to
unmute your line if the Court mutes it or to raise your hand to be recognized during the
hearing.
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Upon connecting to the call and at the time of the hearing, a party may hear the activity in the
courtroom. Unless a joining party mutes their line, he/she joins the call as an active participant
and can be heard. Failure to act appropriately on the line may result with the party being
disconnected by Court. When the judge is ready to hear the case, appearances will be called.
Each time a telephonic party speaks, he/she should identify them self for the record. The
court's teleconferencing system allows more than one speaker to be heard, so the judge can
interrupt a speaker to ask a question or redirect the discussion. When the judge informs the
participants that the hearing is completed, the telephonic participant may disconnect, and the
next case will be called.

5. Failure to appear.
If a party does not timely call and connect to the scheduled hearing, the hearing may proceed
in their absence, and they may face sanctions from the Court for their failure to appear.

6. Other/Miscellaneous.
Telephonic appearances by multiple participants are only possible when there is compliance
with every procedural requirement. Sanctions may be imposed when there is any deviation
from the required procedures or the Court determines that a person's conduct makes telephonic
appearances inappropriate. Sanctions may include denying the matter for failure to prosecute,
continuing the hearing, proceeding in the absence of a party who fails to appear, or a monetary
sanction.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
                    In the Matter                              :      Chapter 7
                                                               :      Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                            Debtor.            :
                                                               :
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                       FINAL ORDER GRANTING INJUNCTIVE RELIEF

                 Upon the application, dated May 21, 2021 (the “Motion”)1 [Docket No. 26] of

Albert Togut, not individually but solely in his capacity as the Chapter 7 Interim Trustee (the

“Trustee”) in the above-captioned case, by his attorneys, Togut, Segal & Segal LLP (the “Togut

Firm”), for an order: (i) authorizing him to issue subpoenas for the production of all books,

records, and documents, including, without limitation, all emails, text messages, computers

and/or laptop computers, hard drives, computer servers, all back-up files and materials and back-

up media wherever located and/or however maintained, and documents related to the Debtor or

its property concerning or otherwise evidencing the Debtor’s assets and financial affairs (the

“Books and Records”), and the examination of various persons and entities, to obtain

information concerning acts, conduct, property, and liabilities of the Debtor, and other matters

relating to the extent and nature of the Debtor’s estate, and directing that all persons who receive

notice of an order granting this Motion and any subpoena issued by the Trustee to preserve, and

not destroy, all Books and Records, concerning the Debtor and its estate; and (ii) scheduling a

final hearing to consider the injunctive relief sought by the Trustee concerning the Books and


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    Capitalized terms not defined herein shall have the meanings ascribed in the Motion.
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Records; and upon the accompanying Declaration of Neil Berger, Esq., [Docket No. 26-4] and

the specific facts set forth therein showing that immediate and irreparable injury, loss or damage

may result absent the relief sought; and after considering the Motion, the Court having entered

the Order Authorizing The Trustee To Issue Subpoenas And Obtain Testimony And For

Injunctive Relief (the “Rule 2004 Order”) [Docket No. 27] which, among other things, scheduled

a hearing for May 27, 2021 (the “May 27 Hearing”) to consider entry of a preliminary injunction

sought by the Trustee; and it appearing that good and sufficient notice of the Rule 2004 Order

and the May 27 Hearing having been given by the Trustee in accordance with the Rule 2004

Order; and Columbus Properties, Inc. and Colonnade Management Company (together, the

“Landlord”) having filed a Limited Objection to any indefinite and ongoing obligation to have

the Premises used to store documents and records on an unpaid basis [Docket No. 31] (the

“Landlord Objection”); and upon the record of the May 27 Hearing held to consider the Motion,

the Court having entered the Order Scheduling Final Hearing To Consider Injunctive Relief (the

“Scheduling Order”) [Docket No. 33] which, among other things, scheduled a final hearing on

June 10, 2021 (the “Final Hearing”) to consider entry of a further order granting the injunctive

relief sought by the Trustee on a final basis; and it appearing that good and sufficient notice of

the Final Hearing having been given by the Trustee in accordance with the Scheduling Order,

and that no other or further notice of the relief sought in the Motion need to be given; and

Walter Mack, Esq., having filed the Objection to Preliminary Injunction Order and Trustee

Issuance of Subpoenas for Testimony and Documents on Behalf of Mitchell H. Kossoff, Esq.,

Kossoff PLLC and Tenantracers [Docket No. 48] (the “Kossoff Objection”); and upon the

record of the Final Hearing and all of the prior pleadings and proceedings had herein, including




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the Landlord Objection and the Kossoff Objection; and after due deliberation, the Court having

concluded that good and sufficient cause for the relief sought in the Motion exists, it is hereby:

               ORDERED, that the Motion is granted on a final basis to the extent provided for

herein; and it is further

               ORDERED, that sufficient reason having been shown therefore, pursuant to Rule

65 of the Federal Rules of Civil Procedure, made applicable by Bankruptcy Rule 7065, any

recipient of this Order (and a subpoena issued by the Trustee pursuant to the Rule 2004 Order)

be, and they hereby are: (a) enjoined and restrained from concealing, deleting, destroying,

removing otherwise altering any of the Books and Records, whether physical or electronic,

related to the Debtor or its property, from the Premises or any other place where they may be

located, absent prior Order of this Court or prior written permission by the Trustee, and (b)

required to preserve all such Books and Records subject only to such turnover obligations

pursuant to a subpoena or a further order of this Court; and it is further

                ORDERED, that the Trustee shall serve copies of the Rule 2004 Order and this

order with any subpoena that he serves pursuant to the Rule 2004 Order; and it is further

               ORDERED, that the entry of this Order is without prejudice to rights of the

Landlord to seek further relief; and it is further

               ORDERED, that the rights of Mitchell H. Kossoff and Tenantracers, LLC to seek

relief from this Order upon application, written notice, and a hearing are preserved; and it is

further

               ORDERED, that the Court retains exclusive jurisdiction to hear and determine




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any and all matters arising from the interpretation and/or implementation of this Order.



Dated: New York, New York
       June 10, 2021
                                                s/ David S. Jones
                                             HONORABLE DAVID S. JONES
                                             UNITED STATES BANKRUPTCY JUDGE




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